       Case 1:20-cr-00159-VEC Document 25 Filed 10/15/20 Page 1 of 1
                                                        USDC SDNY
                                                        DOCUMENT
                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                            DOC #:
SOUTHERN DISTRICT OF NEW YORK                           DATE FILED: 10/15/2020
------------------------------------------------------------   X
UNITED STATES OF AMERICA                                       :
                                                               :        20-CR-159 (VEC)
               -against-                                       :
                                                               :            ORDER
MARTIN REYES,                                                  :
                                                               :
                                         Defendant.            :
------------------------------------------------------------   X

VALERIE CAPRONI, United States District Judge:

       WHEREAS on October 15, 2020, the parties appeared for a change-of-plea hearing;

       WHEREAS on October 15, 2020 Defendant entered a guilty plea;

        IT IS HEREBY ORDERED THAT:

            1. Defendant’s sentencing will be held on February 11, 2021 at 11:00 a.m.

                Sentencing submissions are due by January 28, 2021.

            2. The sentencing will take place in Courtroom 443 of the Thurgood Marshall

                Courthouse, 40 Foley Square, New York, New York, 10007. Members of the

                public may appear for the hearing by calling (888) 363-4749, using the access

                code 3121171 and the security code 0159.



SO ORDERED.

Dated: October 15, 2020
      New York, NY
                                                                   ______________________________
                                                                         VALERIE CAPRONI
                                                                         United States District Judge
